                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                                      Case No. 05-CR-101

KATHY L. PERRY,

                       Defendant.


            ORDER DENYING MOTION FOR CONSIDERATION OF RELIEF


       On December 30, 2005, Defendant Kathy L. Perry was convicted of conspiracy to distribute

crack cocaine and sentenced to ten years in prison. The ten-year sentence imposed by the court was

the mandatory minimum. Perry now seeks reconsideration of the court’s sentence based upon the

recent changes to the United States Sentencing Guidelines reducing the severity of offense guideline

for crack cocaine offenses. Perry requests that the court reduce her sentence based upon the changes

which, effective in March, will be retroactive.

       Perry’s motion will be denied. The sentence imposed by the court in Perry’s case was the

statutory minimum. Thus, the guideline range had no effect on her sentencing. The court simply

lacked authority to impose a sentence less than the mandatory minimum. The United States

Sentencing Commissioner’s changes to the guidelines does not effect the statutory minimum.

Accordingly, Perry is not entitled to relief. Her motion is therefore denied.

       SO ORDERED this              5th   day of February, 2008.



                                                        s/ William C. Griesbach
                                                        William C. Griesbach
                                                        United States District Judge

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